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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


OSCAR MORENO BRIZ, Individually and on                                                PLAINTIFF
Behalf of All Others Similarly Situated


vs.                                       No. 7:22-cv-144


PROTRANS INTERNATIONAL, LLC                                                        DEFENDANT


                             JOINT NOTICE OF SETTLEMENT


        The purpose of this Joint Notice of Settlement is to apprise the Court that, following

the opt-in period and filing of consents, Plaintiffs and Defendant have reached a

settlement in principle that will resolve the claims asserted by Plaintiffs. The parties are

in the process of finalizing settlement terms and expect to file a Joint Motion for Approval

of Settlement with the Court within thirty (30) days from the filing of this Joint Notice of

Settlement. Should the parties be unable to file their dismissal papers by this date, they

will make an appropriate request for extension to the Court, if required, or provide a status

update. In light of their progress, the parties request that all deadlines be stayed pending

finalization of their settlement.




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                                                Respectfully submitted,

                                                OSCAR MORENO BRIZ, Individually
                                                and on Behalf of All Others
                                                Similarly Situated, PLAINTIFF

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                          CERTIFICATE OF CONFERENCE

      I hereby certify that counsel for the parties conferred on February 14, 2024,
regarding the subject matter of this Notice. The parties agree on the requested relief
and make this request jointly.


                              CERTIFICATE OF SERVICE

       On February 14, 2024, I electronically filed a true and correct copy of the
foregoing document using the Court’s CM/ECF system, which provided notice to the
following attorneys of record:

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                                                     /s/ Josh Sanford
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